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 7                       UNITED STATES DISTRICT COURT
 8                                DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,
11         Plaintiff,                          Case No. 2:11-cr-00434-LDG (PAL)
12   v.                                        ORDER
13   EVGENNI RUSSU,
14         Defendant.
15

16         THE COURT ORDERS that Defendant Evgennii Russu’s Motion for Reconsideration
17   (#219) is DENIED.
18

19
      DATED this ______ day of August, 2012.
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21                                                       Lloyd D. George
                                                         United States District Judge
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